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Exhibit A

Invoices
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01 - APPLIED MECHANICAL SYSTEM Pg 1
AR -~ Trade Receivables
Customer Inquiry as of Apr08/15 - All Categories

Customer Code: STAREG

STANDARD REGISTER er, Limit: 125000.00
ATTIN DAVID CLAPPER Phone : 937-221-3300
600 ALBANY ST Fax No : 937-221-1956
DAYTON, OHIO 45417 Contact: DAVID CLAPPER
Email : tami-.masters@standardregister.com
Last Sale Marl12/15 T.T.D. Sales: 5679532.22
Inv. Date of Source/
Invoice Date Tran Record Refer. Net A/R Retention #Days
J014525 Nov24/14 IN Nov24 74851 DAVE WASHB 2,000.00 0.00 SJ6765
7014598 Dec15/14 IN Deci5 74964 VERBAL 4,000.00 0.00 SJ6911
JTO14812 Feb17/i5 IN Febi7 74930 258622 69,800.00 0.00 SJ7318
3014890 Feb28/15 IN Feb28 74986 VERBAL 7,168.00 0.00 S77427
W78577 O0ct22/14 IN Oct22 14-053056 7,668.68 0.00 576542
1086762 CRO594 PY Dec29/14 14-053056 1086762 -1,305.00 a.00 68
W78670 Oct31/14 IN Oct31 14-053281 248 .00 0.00 536584
W79204 Nov28/14 IN Nov28 14-053684 328.00 0.00 S76868
W79207 Nov28/14 IN Nov28 14-053705 478.00 0.00 SJ6868
W79248 Dec08/14 IN Dec08 600051208 489.33 0.00 SJ6é881
W79269 Decl0/14 IN Declo 14-053717 977.17 0.00 SJ6891
W79273 Deci10/14 IN Decl0 14-053727 538.00 0.00 SJ6891
W79283 Deci0/14 IN DeclO 14-053770 532.86 0.00 SJ6891
W79344 Decl8/14 IN Deci8 14-053772 448 .00 0.00 SJ6937
W79356 Dec18/14 IN Deci8 14-053817 428.00 9.00 S36937
W79359 Dec18/14 IN Deci8 14-053831 $48.99 0.00 SJ6937
W79365 Dec18/14 IN Decl8 14-053860 538.00 0.00 836937
W73366 Dec18/14 IN Deci8 14-053874 538.00 0.00 SJ6937
W79428 Deo23/14 IN Dec23 14-053680 1,018.00 0.00 SJ6950

April 68,2015 2:57pm User: JULIE Texm: T5
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Ol - APPLIED MECHANICAL SYSTEM Pg 2
AR - Trade Receivables
Customer Inquiry as of Apros/1i5 - All Categories

Customer Code: STAREG

STANDARD REGISTER Or. Limit: 125000.00
ATTN DAVID CLAPPER Phone ; 937-221-3300
600 ALBANY ST : Fax No : 937-221-1956
DAYTON, OHIO 45417 Contact: DAVID CLAPPER
Email : tami.masters@standardregister.com
Last Sale Mar12/15 T.T.D. Sales: 5679532 .22
Inv. Date of Source/
Invoice Date Tran Record Refer, Net A/R Retention #Days
W79438 Dec24/14 IN Dec24 14-053961 538.00 9.00 S76955
W79453 Dec24/14 IN Dec24 14-053899 781.04 0.00 S76955
W79463 Dec24/14 IN Dec24 14~-053921 328.00 0.00 SJ6963
W79575 Dec30/14 IN Dec30 14-053818 963.00 0.00 SJ7030
W79581 Dec30/14 IN Dec30 14-053945 649.86 0.00 SJ77030
W79633 Dec30/14 IN Dec30 14-053993 328.00 0.00 SJ7034
W79634 Dec30/14 IN Dec30 14-053994 439.41 0.00 SJI7034
W79638 Dec30/14 IN Dec30 14-054013 566.95 0.00 &77034
W79643 Dec30/14 IN Dec30 14-054027 298.00 0.00 SJ7034
W79644 Dec30/14 IN Dec30 14-054031 508.00 9.00 SJ7034
W79645 Dec30/14 IN Dec30 14-054039 178.00 0.00 5737034
W79651 Dec30/14 IN Dec30 14-054071 418.00 0.00 SI7034
W79675 Dec30/14 IN Dec30 14-054038 — 861.79 , 0.00 SJ7083
W73703 Jani5/15 IN Janis 15-054162 178,00 0,00 877094
W79708 Jani5/15 IN Jani5 15-054174 751.00 0.00 SG7094
W79712 dani5/15 IN Jani5 15-054199 283.00 0.00 877094
W79763 Jani9/1i5 IN Janl9 14-053676 593.58 0.00 SJ7107
W79785 Jan21/15 IN Jan22 14-053814 866.51 0.00 S$J37144
W79797 Jan22/1S IN Jan22 14-053839 571.00 0.00 SJ7148

April 8,2015 1:57pm User: JULIE Term: TS
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O01 - APPLIED MECHANICAL SYSTEM Pg 3
AR -~ Trade Receivables
Customer Inquiry as of Apr08/15 - All Categories

Customer Code: STAREG

STANDARD REGISTER Or. Limit: 125000.00
ATTN DAVID CLAPPER Phone : 937-221-3306
600 ALBANY ST Fax Noa : 937-221-1956
DAYTON, OHIO 45417 Contact: DAVID CLAPPER
Email +: tami.masters@standardregister.com
Last Sale Mar12/15 T.T.D. Sales: 5679532.22
inv. Date of Source /
Invoice Date Tran Record Refer. Net A/R Retention #Days
W79811 Jan22/15 IN Jam22 15-054229 238.00 0.00 SJ77148
W79817 Jan22/15 IN Jan22 15-054278 $38.00 0.00 SJ7148
W79818 Jan22/15 IN Jan22 15-054279 538.00 0.00 S37148
W79823 Jan22/15 IN Jan22 15-084326 178.00 0.00 837148
W79841 Jan27/15 IN Jan27 600051209 489.33 0.00 S37169
W79922 Jan29/15 IN Jan29 15-054348 508.00 0.00 SJ77186
W79923 Jan29/15 IN Jan29 15-054350 538.00 0.00 SJ7186
W79927 Jan29/15 IN Jan29 15-054359 538.00 0.00 SJI7186
W79933 Jan29/15 IN Jan29 15-054378 538.00 6.00 &77186
W79938 Jan29/15 IN Jan29 15-054403 538.00 0.00 SJI7186
Wa0c34 Jan30/15 IN Jan30 15-054475 538.00 0.00 $77231
W80035 Jan30/15 IN Jan30 15-054485 178.00 0.00 SI7231
WB0036 Feb04/15 IN Feb04 600051210 576 47 0.00 SJ7232
W80038 Jan30/15 IN Jan30 15~054447 538.00 0.00 S77234
WB0039 Jan30/15 IN Jan30 15-054474 538.00 Q.00 S77234
wso0075 Feb11/15 IN Febli 15-054563 298.00 0.00 SJ7257
WB0076 Feb11/15 IN Febl1 18-054571 118.00 0.00 S77257
WB0349 Feb19/15 IN Feb19 15-054330 3,319.15 0.00 $77342
W803S87 Feb19/15 IN Feb19 15-054418 559.35 0.00 SJ7342

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OL - APPLIED MECHANICAL SYSTEM Pg 4
AR - Trade Receivables
Customer Inguiry as of Apr08/15 - All Categories

Customer Code: STAREG :
STANDARD REGISTER Cr.Limit: 125000.00

ATTN DAVID CLAPPER Phone : 937-221-3300
600 ALBANY ST Fax No : 937-221-1956
DAYTON, OHIO 45417 Contact: DAVID CLAPPER
Email : tami.masters@standardregister.com
Last Sale Mari2/15 T.T.D. Sales: 5679532.22
Inv. Date of Source/
Invoice Date Tran Record Refer. Net A/R Retention #Days
W80363 Feb19/15 IN Feb19 15-054499 557.87 0.00 837342
W80375 Febi9/15 IN Feb19 15-054572 388.00 0.00 837342
W80376 Feb19/15 IN Feb19 15-054573 298.00 0.00 837342
W80380 Feb19/15 IN Febl9 15-054585 298.00 0.00 837342
W80387 Feb19/15 IN Febi9 15-054690 238.00 0.00 SJ7342
W80451 Feb25/15 IN Feb2S 15-054681 508.00 0.00 SJ7391
W80461 Feb25/15 IN Feb25 15-054711 538.00 0.00 SO739%
W80465 Feb25/15 IN Feb25 15-054721 538.00 0.00 837392
W80469 Feb25/15 IN Feb25 15-054746 178.00 0.00 SJ7391
W80471 Feb25/15 IN Feb25 15-054758 178.00 0.00 SI7391
W80609 Feb28/15 IN Peb28 15-054783 407.95 0.00 SJ7491
W80613 Feb28/15 IN Feb28 15-054803 1,018.00 0.00 877492
Weo620 Feb28/15 IN FPeb28 15-054825 538.00 Q.00 SIJ7494
W80624 Feb28/15 IN Feb28 15-054854 844.95 0.00 8774912
W80626 Feb28/15 IN Feb28 15-054866 298.00 0.00 SJI7491
WBO762 Marl2/15 IN Marl2 15-054949 298.00 0.00 SJ7520
{Avg days to Pay: 7) Total 424, 962.24 oo 0.00
Current 31-60 Days 61-90 Days 91-120 Days Over 120 Days
298.00 88,089.27 10,252.89 16,415.07 9,907,01

April 8,2015 1:57pm User: JULIE Term: TS
